                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                                No. CR22-4073-LTS

 vs.
                                                    ORDER ON REPORT AND
 BOBBY RAY RHODEN,                                   RECOMMENDATION

              Defendant.



                                 I.   INTRODUCTION
       This matter is before me on a Report and Recommendation (R&R) (Doc. 125) in
which the Honorable Kelly K.E. Mahoney, Chief United States Magistrate Judge,
recommends that I deny defendant’s motion (Doc. 113) to dismiss Count I of the second
superseding indictment, which charges him with kidnapping in violation of the Federal
Kidnapping Act, 18 U.S.C. § 1201(a)(1). See Doc. 94.            Rhoden has filed timely
objections (Doc. 130).


                           II.   APPLICABLE STANDARDS
       A district judge must review a magistrate judge’s R&R under the following
standards:
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.




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28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.     DISCUSSION
       Rhoden argues Count 1 should be dismissed because (1) Congress did not intend
to criminalize wholly intrastate crimes committed with an automobile and (2) that absent
explicit direction from Congress that an automobile is an “instrumentality of interstate
commerce,” “the use of a common automobile in an alleged intrastate kidnapping –
standing alone – is insufficient to confer federal jurisdiction pursuant to Congress’
Commerce Clause authority.”        Doc. 117.     Rhoden is charged under 18 U.S.C. §
1201(a)(1) which makes it a crime for a person who:
       unlawfully seizes, confines, inveigles, decoys, kidnaps, abducts, or carries
       away and holds for ransom or reward or otherwise any person . . . when .
       . . the offender . . . uses . . . any means, facility, or instrumentality of
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       interstate or foreign commerce in committing or in furtherance of the
       commission of the offense.

Judge Mahoney observed it is difficult to see the difference between this argument and
the one that was previously rejected. See Doc. 63. In any event, she rejected Rhoden’s
argument that the use of an automobile in an intrastate kidnapping, standing alone, cannot
establish federal jurisdiction under the Commerce Clause. She reasoned that it is the
instrumentality itself (here, automobiles) used in the crime, not how it was used, that
establishes the jurisdictional hook. Doc. 125 at 3-5.
       Rhoden objects to the R&R, arguing that it did not address the precise issue he
raised, which he characterizes as: “did Congress indicate an intention in 18 U.S.C. §
1201 to assert its Commerce Clause authority to bring under federal jurisdiction non-
economic criminal kidnapping occurring entirely intrastate simply because a defendant
uses a common automobile?” Doc. 130 at 6. Rhoden raises an objection to the factual
finding in the R&R that “the court has no information as to what evidence, if any, the
Government may offer about the automobile’s movements in interstate commerce (apart
from the intrastate kidnapping itself).” Doc. 125 at 5, n.17. Rhoden cites the “Facts”
section of his brief (Doc. 117 at 4-5) in support of his motion and notes the Government
did not challenge it. There is no allegation that Rhoden moved the victim in interstate
commerce using the automobile. 1
       Rhoden also raises legal objections, arguing that the instrumentality rationale
amounts to a strict liability analysis – that if an alleged kidnapper uses an automobile in
the commission of the offense, then it is a federal crime. Rhoden argues this reasoning
fails to consider how the jurisdictional element (the interstate nexus) limits the statute’s
scope and fails to recognize that Congress does not have authority to regulate kidnapping



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  For purposes of this motion, I will accept Rhoden’s representation that the alleged crime
involved a wholly intrastate use of the vehicle in committing or in furtherance of the commission
of the offense.

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in an unbridled manner without undermining Commerce Clause jurisprudence and
federalist principles. See Doc. 130 at 9.
       Rhoden relies on United States v. Lopez, 514 U.S. 549 (1995), and United States
v. Morrison, 529 U.S. 598 (2000), to argue that the prosecution of Count I exceeds the
authority granted by Congress. He notes that those defending the applicable statutes in
each of those cases relied on the substantial effects doctrine regarding Congress’ authority
to regulate possession of firearms in a school zone and compensation to victims of gender-
motivated violence. Similar to those arguments, Rhoden argues that wholly intrastate
kidnapping is a non-economic crime and Congress may not regulate non-economic
intrastate crime to further a non-economic goal. He contends the mere presence of a
jurisdictional element in a statute does not establish that the regulation contains a
sufficient nexus with interstate commerce to provide constitutional justification for
Congress’ regulation. In Morrison, the Court stated “[t]he regulation and punishment of
intrastate violence that is not directed at the instrumentalities, channels, or goods involved
in interstate commerce has always been the province of the States.” Morrison, 529 U.S.
at 618. Rhoden relies on this statement to argue that mere “use” of an instrumentality of
interstate commerce is insufficient and that the alleged kidnapper must “direct” his
offense conduct at an instrumentality of interstate commerce to bring the offense within
federal authority.
       I will begin with a discussion of Lopez and Morrison, as these are the main
authorities Rhoden relies on for his argument. In Lopez, the Court considered the
constitutionality of the Gun-Free School Zones Act of 1990, which made it a federal
offense “for any individual knowingly to possess a firearm at a place that the individual
knows, or has reasonable cause to believe, is a school zone.” Lopez, 514 U.S. at 551.
The Court noted the Act “neither regulates a commercial activity nor contains a
requirement that the possession be connected in any way to interstate commerce” and
held that the Act exceeded Congress’ authority “[t]o regulate Commerce . . . among the
several States.” Id. (quoting U.S. Const. Art. I, § 8, cl. 3). The Court identified three
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broad categories of activity that Congress may regulate under its commerce power:
channels of interstate commerce, instrumentalities of interstate commerce and activities
that substantially affect interstate commerce. Id. at 558. The Government argued that
Congress’ authority to regulate firearms in school zones fell under the third category on
a theory that possession of a firearm in a school zone could result in violent crime and
violent crime could affect the national economy based on costs (particularly insurance)
and the willingness of individuals to travel to areas within the country perceived to be
unsafe. Id. at 563-64. It also argued that the presence of firearms in schools posed a
substantial threat to the educational process by threatening the learning environment and
resulting in a less productive citizenry. Id. at 564. The Court rejected these arguments,
noting it would need to “pile inference upon inference in a manner that would bid fair to
convert congressional authority under the Commerce Clause to a general police power of
the sort retained by the States.” Id. at 567.
       Morrison, too, involved the issue of whether the statute in that case (providing a
federal civil remedy for victims of gender-motivated violence) constituted regulation of
an activity that substantially affects interstate commerce. Morrison, 529 U.S. at 609.
Relying on Lopez, the Court identified four relevant considerations: (1) whether the
regulation of intrastate activity has some sort of economic endeavor; (2) whether there is
an express jurisdictional element establishing an explicit connection with or effect on
interstate commerce; (3) whether there were express congressional findings regarding the
effects upon interstate commerce and (4) whether the link between the regulated activity
and a substantial effect was too attenuated. Id. at 610-12. Based on these considerations,
the Court concluded: (1) “[g]ender-motivated crimes of violence are not, in any sense of
the phrase, economic activity;” (2) the statute contained no jurisdictional element; (3)
while there were numerous congressional findings regarding the impact of gender-
motivated violence on victims and their families, they relied on reasoning the Court had
already rejected (diminishing national productivity, increasing medical and other costs
and decreasing the supply of and demand for interstate products) and (4) petitioners’
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reasoning would allow Congress’ authority to extend to numerous other crimes as well
as other areas of traditional state regulation. Id. at 613-15. Thus, the Court concluded
that Congress could not regulate “noneconomic, violent criminal conduct based solely on
that conduct’s aggregate effect on interstate commerce.” Id. at 617.
       Rhoden’s attempt to apply the reasoning from these cases onto the Federal
Kidnapping Act, and the circumstances of this case, is not persuasive because Congress’
authority is based on an instrumentality of interstate commerce, not regulation of an
activity that substantially affects interstate commerce. As such, Lopez and Morrison have
little bearing on the issue as they involved a separate category of regulation and Rhoden’s
arguments are unique to that category. See United States v. Alderman, 565 F.3d 641,
647 (9th Cir. 2009) (“In Morrison, the Supreme Court established what is now the
controlling four-factor test for determining whether a regulated activity substantially
affects interstate commerce.”); United States v. Gil, 297 F.3d 93, 100 (2d Cir. 2002)
(“A showing that a regulated activity substantially affects interstate commerce (as
required for the third category) is not needed when Congress regulates activity in the first
two categories.”); United States v. Gilbert, 181 F.3d 152, 158-59 (1st Cir. 1999) (“Lopez
does not apply because a telephone is an instrumentality of interstate commerce and this
alone is a sufficient basis for jurisdiction based on interstate commerce.”).
       Rhoden states that the main issue he wants the court to answer is whether Congress
indicated an intention in 18 U.S.C. § 1201 to assert its Commerce Clause authority to
non-economic, intrastate kidnapping simply because a defendant uses an automobile.
Doc. 130 at 6. The plain language of the statute would indicate the answer is “yes.”
The statute requires use of “the mail or any means, facility, or instrumentality of interstate
or foreign commerce in committing or in furtherance of the commission of the offense”
for there to be a violation. See 18 U.S.C. § 1201(a)(1). Nonetheless, Congress’ intent
is not dispositive as to the constitutionality of a statute. See Lopez, 514 U.S. at 557, n.2
(“[S]imply because Congress may conclude that a particular activity substantially affects
interstate commerce does not necessarily make it so” and noting that “[w]hether particular
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operations affect interstate commerce sufficiently to come under the constitutional power
of Congress to regulate them is ultimately a judicial rather than a legislative question,
and can be settled finally only by this Court.”). In other words, whether Congress
intended to regulate this type of activity (based on substantial effect or otherwise) is beside
the point, as it is up to the court to decide whether an activity falls within the scope of
Congress’ Commerce Clause power.
       The Government relies on Rhoden’s use of an automobile to charge him with a
violation of 18 U.S.C. § 1201. See Doc. 121 at 2. Rhoden argues that mere “use” is
not enough and that the regulation must be “directed at” an instrumentality or channel of
interstate commerce.      This argument is based on dicta in Morrison stating “[t]he
regulation and punishment of intrastate violence that is not directed at the
instrumentalities, channels, or goods involved in interstate commerce has always been
the province of the States.” Morrison, 529 U.S. at 618. Of course, the statute requires
only “use.” See 18 U.S.C. § 1201(a)(1) (“or uses the mail or any means, facility, or
instrumentality of interstate or foreign commerce in committing or in furtherance of the
commission of the offense.”). While I agree that the statute is aimed at regulating the
crime of kidnapping, as opposed to an instrumentality of commerce, such as vehicles,
Rhoden does not cite any authority (aside from the statement in Morrison) that use of an
instrumentality is insufficient to establish federal jurisdiction.
       I agree with Judge Mahoney that based on current precedent, the intrastate use of
an instrumentality of interstate commerce to carry out a crime is enough to bring it under
Congress’ authority pursuant to the Commerce Clause. I do not find United States v.
Chavarria, No. 22-CR-1724-KG, 2023 WL 3815203, at *1 (D.N.M. June 5, 2023),
appeal filed, No. 23-2102 (10th Cir. July 6, 2023) to be persuasive. In that case, the
court relied on a Tenth Circuit case and applied the Lopez and Morrison framework to
the issue, even though it acknowledged that the kidnapping statute involved a different
category of regulation. See Chavarria, 2023 WL 3815203 at *6 (“Based on the reasoning
of the Supreme Court in Lopez, as well as in Morrison applying Lopez, this Court finds
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persuasive the impropriety of extending federal jurisdiction under the Commerce Clause
because of a use of a vehicle without explicit congressional intent to regulate non-
economic criminal behavior and with no jurisdictional or case-by-case inquiry.”). As
Judge Mahoney points out, this case is an outlier among the other courts to address this
issue, including several circuit courts of appeal. See United States v. Windham, 53 F.4th
1006, 1013 (6th Cir. 2002) (“[w]hen a car or a cell phone is used ‘in committing or in
furtherance of’ a kidnapping for ransom, reward, or otherwise, the federal kidnapping
statute applies.”); United States v. Protho, 41 F.4th 812, 828-29 (7th Cir. 2022) (“it’s
the nature of the regulated object’s class (here, automobiles) rather than the particular
use of one member of that class (Protho’s Ford Explorer) that matters.”); United States
v. Gonzales, No. 21-10631, 2022 WL 1421032, at *1 (5th Cir. May 5, 2022), cert.
denied sub nom., 143 S. Ct. 223 (2022) (“we have recognized that the interstate nexus
requirement for federal crimes is satisfied by, as pertinent here, the wholly intrastate use
of an automobile.”).
       As the Government points out, the Eighth Circuit seems inclined to agree that
nothing more is required when jurisdiction is based on an instrumentality of interstate
commerce. See United States v. Trotter, 478 F.3d 918, 921 (8th Cir. 2007) (“No
additional interstate nexus is required when instrumentalities or channels of interstate
commerce are regulated.”). While the Federal Kidnapping Act is not a direct regulation
of an instrumentality (such as a vehicle or cell phone), it is an indirect regulation in that
it prohibits use of those instrumentalities to carry out or further the crime of kidnapping.
Thus, the statute reflects a limit on federal power such that it would not extend to all
kidnappings. Count I of the second superseding indictment does not exceed Congress’
authority under the Commerce Clause.




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                                IV.       CONCLUSION
      For the reasons set forth herein:
      1.     Rhoden’s objections (Doc. 130) to the R&R (Doc. 125) are overruled;
      2.     I accept the R&R (Doc. 125) without modification, see 28 U.S.C. §
636(b)(1);
      3.     Pursuant to Judge Mahoney’s recommendation, Rhoden’s motion (Doc.
113) to dismiss Count I of the second superseding indictment is denied.



      IT IS SO ORDERED.
      DATED this 6th day of February, 2024.




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                                          Leonard T. Strand, Chief Judge




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